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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
______________________________________________X
NETWORK DATA ROOMS, LLC,
                                                             Civil Case No.: 22-CV-2299-LGS

                                     Plaintiff,
               -v-

SAULREALISM LLC and RYAN SAUL, in her individual
and professional capacities,

                              Defendants.
______________________________________________X


                           ORDER TO SHOW CAUSE FOR
                          PRELIMINARY INJUNCTION AND
                       AND TEMPORARY RESTRAINING ORDER

       On Ex Parte Application (“Application”) of Plaintiff NETWORK DATA ROOMS, LLC

(“Plaintiff”), upon hearing oral argument from Plaintiff’s counsel on March 24, 2022, and

reading the Verified Complaint dated March 21, 2022, the annexed Certification of Nicholas

Fortuna dated March 22, 2022, the annexed Declaration of Christopher Concannon dated March

22, 2022 and exhibits thereto, the annexed Declaration of David Delorge dated March 22, 2022

and exhibits thereto, and the Accompanying Memorandum of Law,

       LET the above-named Defendants, SAULREALISM LLC and RYAN SAUL

(“Defendants”), or their attorneys show cause on April 7, 2022, at 10:00 a.m., on the following

conference line: 888-363-4749, access code: 558-3333, why an Order pursuant to Rule 65 of the

Federal Rules of Civil Procedure, pending a final disposition of this action, should not be made

and entered:

       (a) Enjoining Defendants, and their agents, representatives, employees or anyone else

       acting on their behalf or in concert with them from destroying, disclosing, transferring, or
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        in any way using any of Plaintiff’s confidential, proprietary, and trade secret information

        including but not limited to, the codebase of the DealTable Virtual Data Room Platform

        software, and the decompiled source code written by Defendants between September 26,

        2021 and January 18, 2022;

        (b) Directing Defendants to turn over to Plaintiff the original and all copies of the codebase

        of the DealTable Virtual Data Room Platform software and the decompiled source code

        written by Defendants between September 26, 2021 and January 18, 2022, in their

        possession, custody, or control; and

        (c) Granting such other and further relief as this Court may deem proper;

AND sufficient cause having been shown, it is hereby further

        ORDERED that pursuant to Rule 65 (b) of the Federal Rules of Civil Procedure, pending

the hearing and determination of Plaintiff’s application for a preliminary injunction, the

Defendants and their agents, representatives, employees or anyone else acting on their behalf or in

concert with them, are temporarily restrained and enjoined from destroying, disclosing,

transferring, or in any way using any of Plaintiff’s confidential, proprietary, and trade secret

information including but not limited to, the codebase of the DealTable Virtual Data Room

Platform software, and the decompiled source code written by Defendants between September 26,

2021 and January 18, 2022; it is further

        ORDERED that bond in the amount of $ 5,000.00 be posted by the Plaintiff by March

31, 2022; it is further

        ORDERED that service of a copy of this Order to Show Cause, together with the papers

upon which it is based, be made by personal or overnight delivery service, and by email if possible,

upon Defendants or their counsel on or before March 25, 2022, shall be deemed good and
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sufficient service thereof; it is further

        ORDERED that by March 25, 2022, Plaintiff shall file proof of such service; it is further

        ORDERED, that Defendants’ answering papers, if any, shall be served upon Plaintiff’s

attorneys by filing on CM/ECF on or before March 31, 2022; it is further

        ORDERED, that reply papers, if any, are to be served upon Defendants or Defendants’

attorney by filing on CM/ECF on or before April 5, 2022.

        The parties are directed to the Court’s Individual Rules regarding page limits.

This temporary restraining order shall expire when a hearing is held or upon order of the court,

whichever is earlier.

        The Clerk of Court is respectfully directed to close the motion at Docket No. 9.

Dated: March 24, 2022
       New York, New York
